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                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                SOUTH BEND DIVISION


BRAD A. MART,                                      §
                                                   §
       Plaintiff,                                  §
                                                   §                  Civil Action No.
vs.                                                §              3:10-CV-118-JTM-CAN
                                                   §
BERKSHIRE HATHAWAY, INC.,                          §               (JURY DEMANDED)
FOREST RIVER, INC. and                             §
PETER J. LIEGL,                                    §
                                                   §
       Defendants.                                 §




     PLAINTIFF’S EMERGENCY MOTION FOR LEAVE TO TAKE
  DEPOSITIONS TO RESPOND TO RULE 12(b) DISPOSITIVE MOTIONS

       Plaintiff files this emergency motion without waiving any right to later seek to disqualify

Munger, Tolles & Olson LLP from representing Berkshire Hathaway in this matter. Counsel for

plaintiff recently learned Munger, Tolles & Olson is a fact witness on certain issues pending

before the court. Because of the emergency nature of this motion, plaintiff is not in a position to

fully confer with counsel for Berkshire on the issue of disqualification and, therefore, will

reserve the right to seek disqualification if required at the appropriate time.

       Pursuant to N.D. Ind. L.R. 37.1 and Fed.R.Civ.P. 26(d), Plaintiff Brad A. Mart seeks an

emergency motion for leave of court to take depositions duces tecum of fact witnesses in this

case and to submit a request for production of documents to Forest River, Inc. The discovery is

needed because factual issues exist that form the basis for Defendants’ three pending Rule 12(b)

motions. In support of this emergency motion, Brad Mart states that:




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       1.      Defendants filed three overlapping Rule 12(b) motions to dismiss and Plaintiff’s

response is scheduled to be due this coming Friday, June 18, 2010.

       2.      Over the past two weeks, opposing counsel has failed to negotiate in good faith on

Plaintiff’s discovery requests, thus delaying the filing of this motion.

       3.      Targeted discovery is necessary for Plaintiff to fulfill its burden to demonstrate

jurisdiction when the supporting evidence is in the hands of Forest River, Inc. and Berkshire

Hathaway, Inc.

       4.      A complete argument can be found in the corresponding Brief In Support Of

Plaintiff’s Motion For Leave To Take Depositions.

       5.      The required certification according to L.R. 37.1(b) is filed contemporaneously

with this motion, stating that the movant has in good faith conferred with the Defendants in an

effort to resolve this matter without court action.



Dated: June 16, 2010                             Stephen A. Kennedy, pro hac vice
                                                 Steven E. Clark, pro hac vice
                                                 Reneé C. Summers, pro hac vice
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                                                 By:     /s/ Stephen A. Kennedy
                                                         Stephen A. Kennedy

                                                 ATTORNEYS FOR PLAINTIFF BRAD A. MART


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                                CERTIFICATE OF SERVICE

        I hereby certify that on June 17, 2010, I electronically filed the foregoing document with
the Clerk of the Court using the court’s CM/ECF system. All participants in the case are
registered CM/ECF users and service will be accomplished by the court’s CM/ECF system.


                                                    /s/ Stephen A. Kennedy
                                                Stephen A. Kennedy




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